          Case 1:16-cr-00746-PKC Document 317 Filed 03/13/18 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
UNITED STATES OF AMERICA,
                                                                     16-cr-746 (PKC)

                -against-                                                ORDER


DAVID BERGSTEIN,

                                  Defendant.
-----------------------------------------------------------x

CASTEL, U.S.D.J.:


                Defendant’s counsel’s attention is called to the Court’s Individual Practices on

sentencing appearing on the Court’s website under the undersigned’s name. Defendant’s

counsel should direct friends and families to send their sentencing letters to counsel who then

can assemble and submit them with defendant’s submission rather than have them mailed to the

Court piecemeal. The sentencing submissions are due two weeks before sentencing.


                SO ORDERED.




Dated: New York, New York
       March 13, 2018
